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                             H ARRTSO N BU RG D IW SIO N                   BYJu    C    L       ,   CLERK
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 W RG IN IA IN D U ST RIM ,,
 PM STICS,IN C.,

       Plaintiffy
                                                CivilAction N o.5:18-cv-00119


 CM IN ET SAV ER LLC,

       D efendant.                              By:   M ichaelF.U rbansld
                                                       ClziefU.S.DistdctJudge
                             M E M O M N D U M O PIN IO N
       Tllism attercom esbeforethe courton PlainéffVirg'
                                                       m
                                                       'l'aIndusttialPlasdcs,Inc.'s

 (W P)modon to dismissDefendantCabinetSaverLLC'S(CS)countercbimspuàsuantto
 FederalRuleofCivilProcedure12q$(6),ftledonNovember19,2018.CShasftledno
 tesponseto thism otion.

       Forthereasonsexplained below ,the courtGRAN T S V1P'sm oéon to disnaissCS's

 countercbim s.



       V1P flled itscom plaintagainstCS on Septem ber12,2018.ECF N o.1.Tllissuit

 arisesfrom the use ofthenam e fTcabinetSavers,''used by both pardesto referto plasdc

 linersdesigned to protectkitchen sink cabinetsand othersutfacesfrom waterdam age.ECF

 No.1,!g13;ECF No.7,2.Both paréesmanufactureproductsofthisdescripéon.ECF No.
 1,! 13;ECF No.7,2.VIP ownsUnited StatesTrademark RegistradonN o.5,426,605for
 theuseoftheffcabinetSaver':mark (theM arkl,filedwith theUnitedStatesPatentand



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 TrademarkOffice(USPTO)onluly14,2017.ECF No.1,!79ECFNo.7,1.Inits
 complaint,VIP allegestrademark infringement,falseassociation/falseendozsement,false
 designadon ofsourceand/ororigm
                              ',andunfaitcompeddon againstCS.ECF No.1.
        In itsanswerto the com plnint,CS bzingstwo counterclsim s:tradem atk infdngem ent

 by VIP and unfaircom peddon byV IP.ECF N o.7.CA clnim sthatitwasusing them azk

 ffcabinetSaver''in com m erce beforeVIP began using it,and thatVIP knew ofCS'suse and

 TfadoptedtheMarkinanattempttohijacktheMark,causeconfusionastothesoutceof
 goodsand servicesprovided undertheM ark,and to interferewit.h CabinetSaver'suseofthe

 M atk.''ECF N o.7,1.

                                             II.

        Rule12q$(6)oftheFederalRulesofCivilProcedùrepermitsapartytomovefor
 disrnissalofacom plaintforfailureto statea clnim upon which reliefcan begranted. To

 sutviveamotiontodisnnissunderRule129$(6),theplainéffmustpleadsufhcientfactsffto
 raise arightto reliefabove the speculaévelevel''and ffstate acbim to reliefthatisplausible

 onitsface.''BellAtl.Co .v.Twombl,550U.S.544,555,570(2007).A pl/indff
 estabishesTffacialplausibilitf'bypleadingfffacttzalcontentthatallowsthecourttodraw the
 reasonableinferencethatthedefendantisliable forthenlisconductalleged.''A shcroftv.

 tqb-a-1,556U.S.662,678(2009).In tnllingona124$(6)motion,thecouttmustacceptall
 .




 well-pleaded allegationsin the com plaintastt'ue and dzaw allreasonable facm alinferencesin

 thelightmostfavorableto theplainéff Ibatrav.UnitedStates,120F.3d472,474 (4th Cir.
 1997).However,Tfgtjhreadbarerecitalsoftheelementsofacauseofacéon,supported by
 m eteconclusory statem ents,do notsuffk e.''Lqbal,556U .S.at678;seeW a M oteD o s



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 LLCv.Cozarq680F.3d359,365(4thCir.2012)Soldingthecotzrtffneednotacceptlegal
 conclusionscouched as factsorunw artanted inferences,unreasonable conclusions,or

 arguments'')(internalquotadonmarksornitted).
       A complaintoffraudmustbepledwithpaocularity,accordingtoRule9q$.f<To
 sadsfytheheightenedpleadingstandazdofRule99$,aplnindffmuststatewithpatticularity
 Tthetim e,place,and contentsofthe falsetepresentadons,asw ellastlae idendty ofthe

 person m aldng thenlisrepresentadon and whathe obtzned thereby.'''Beasle v.FV-1 lnc.,

 1:13-CV-116,2013W L 1192018,at*3(.E.D.Va.Mar.21,2013)(quotingInreMut.Funds
 Inv.Liti.,566F.3d111,120(4thCir.2009)).FailuretocomplywithRule9$)'spleacling
 standardistzeatedasafailtlretostateaclnim underRule129$(6).J-I.
                                                               L(quotingHardsonv.
 W esdn houseSavannahmverCo.176F.3d776,783n.5(4thCir.1999)).
                                            111.

        In itsm odon to clisnaiss,V1P arguesthatCS failed to m eetthe standard setbyRule

 9(b)byplealingthefacttzalcirctzmstancesofitscountercllims.ECF No.16,2.VIP also
 arguesthatCS hasfailed to ffestablish alegally cognizable causeofacdon''by fgiling to

 factazally fçsubstanéatea basesfor fraud''on theU SPTO .Id.The colztt'sdecision regarding

 thelatterofthesetwoobjectionseliminatestheneedtoaddtesstheformer.

        To establish tradem arkinfringem entundertheLanham A ct,aplaintiffm ustprove:

 (1)thatitownsavalidmazk;(2)thatthedefendantused thematk Tfin commerce''and
 svithouttheplaintiff'sauthorizadon;(3)thatthedefendantused themark (oran itnitadon of
 it)Tfin connection vrith thesale,offering forsale,distribution,ozadvertising''ofgoodsor
 services;and (4)thatthedefendant'suseofthem atkislikely to confuseconsumers.15


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 U.S.C.j1114(a)(2005);seeLouisVuittonMallederS.A.v.HauteDiggityDog,LLC,507
 F.3d252,259(4thCir.2007);Peo lefoztheEthicalTreaûnentofAnitnalsv.Dou hne ,
 263F.3d 359,364 (4th Cit.2001).Noneoftheseelementsreqlxiresashowing offzaud.ln its
 flrstcountercbim oftzadem ark infzingem ent,however,CS allegesthatTfVIP obtained a

 federaltradem azk registtation fraudulently in thatVIP fraudulently alleged adate offttstuse

 oftheM ark alm ostten yeatspriorto itsactualflrstuseoftheM ark,and forthe solepulpose

 ofinfringing on CabinetSaver'sTradem arkrights.':ECF N o.7,5.Thiscllim m ergesthe

 second elem entoftradem azltinfringem entsvith an allegation offraud;in effect,CS alleges

 fraudin theproctuemenqand such aclaim issubjectto theheightened standardsofRule
 9q$.RepublicTechnologies(NA),LLCv.BBK Tobacco& Foods,LLC,262F.Supp.3d
 605,608-09.
           IN.D.1tl.2017).

        To state acause ofaction forfraud,aplainéffm ustplead thattherew as<<afalse

 representation ofam aterialfact,m adeintentionally and knowingly,Mrith intentto rrlislead.':

 Salesv.Kecou htan Housin Co.Ltd,279Va.475,481,690S.E.2d 91,94 (2010).The
 plaintiffm ustalso plead relianceon thatfalse representation and resulting dam ages.Ld=
                                                                                    .




 Pleading fraud in theprocurem entofatradem ark tequiresproofthe ttadem ark ownerm ade

 a falserepresentaéon ofm aterialfactto theUSPTO ,and butfortheU SPTO 'Sreliance on

 the falserepresentation,theregisttaéon wotlld nothave been issued.ecash Technolo 'es

 Inc.v.Gua liardo,136F.Supp.2d 1056,1064 (C.D.Cal2000).
        CS'sclearestdefk iencyin itscounterclnim isitsallegaéon thatVIP ffobtained a

 fedezaltrademarkregistration fraudulentlyinthatVIP'sgsicqfraudulentlyallegedadateof
 ftrstuse oftheM azk alm ostten yearspriorto itsacttzalftrstuse ofthe M ark,and fot the sole

                                                  4
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 purpose ofinfringing on CabinetSaver'stradem ark rights.''ECF N o.7,5.CS'sclaim of

 tradem ark infringem ent,therefore,restsupon V 1P'salleged erroneousdate offlrstuse.An

 erroneousdate offirstuse,however,cannotbe the g'
                                                roundsforsuch a clnim .The

 TrademarkTlialand AppealBoatd rfrademarkBoard)hasregularlyruled thatffanincorrect
 statem entofthedate offtrstuseisnotm aterial,and therefore notfraudulent,aslong asthe

 actualfttstuse occutted priorto the application date.''See e. .,Pon Ex .CourierCo .of

 Am.v.Pon Ex .Delive Serv'.,872F.2d317,319(9thCir.1989)(ffTheclnim ofadateof
 flrstuseisnotam aterialallegaéon aslong asthe firstusein factprecede'd the applicaéon

 date.');Lewisv.MicrosoftCo .,410 F.Supp.2d 432,437-38 (E.D.N.C.2006),aff'd,222
 F.App'x290 (4th Cir.2007)(finding trademark infringementcloimswerebarredbyLç-q
 judicataafterthtTradçmark Board held thatan incozrectdateofflrstusewasnotmatedal
 and clidnotconsdtutefraud);Geor ia-southern 011Inc.v.H arv'
                                                           e X chardson,16
 U.S.P.Q.Zd1723(T.T.A.B.July19,1990)(fThus,thedateofflrstuseaEegedbyapplicantin
 itsapplicatbn,eveniffalse,cannotbesaid to consdmtefraud on theoffice.'l.
       The cotzrttakesguidance ftom M onsterD add LLC v.M onsterCableProducts

 Inc.,in which theplainéff,M onsterD addy,following a failed settlem entagreem entbetween

 the partiesregarding useofthe ffM onster''m atk,flled suitagainstthe defendant,M onster

 Cable,seeldng specihc perform anceoftheagreem ent.N o.CA 6:10-1170-H M H ,2010 W L

 4853661,at*1-2 O .S.C.N ov.23,2010).M onsterCableresponded with nlzm erous
 countercllim s,including oneoffraud.Ld=M onsterCable alleged thatM onsterD addy
                                      .




 falsified yhç date ofitsfustuse oftheM onstezm ark in itsstatem entofuse field,tlm s

 com m ii ng ftaud on the USPTO .Ldsat*3.Thecourtrej
                                  .                ected tllisargppment,notingthe


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 absence ofany legalauthority supporéng the contendon thatafalse dateoffltstusecould

 everbem aterialwhen theapplicant'sactualuse occurred priorto theapplicaéon filing date.

 1d.Thecourtheld thatfozM onsterCable'scountercllim offraud to have facialplausibility,

 M onsterCablehad to plead factsgivingrise ffto areasonable inference thatM onsterD addy

 failed to use the M onsterm atk when itfied itsstatem entofuse.''ld.

       The factsathand ate m atkedly sim ilr .A stheM onstetD add courtnoted,tlaeteis

 no legalauthority showing thatan erroneousdate offlzstuse givesrise to aclnim offraud so

 long asthe acttzaldate offlzstusepreceded thedate ofthe application.SeeM onsterD add ,

 2010 W L 4853661,at*3.LikeM onsterCable,CS haspled only onem isrepresentation in its

 counterclnim - a nnisrepresentadon thatis,by law ,im m atezial.A n allegaéon thatVIP did not

 use the dfcabinetSaver''m ark before filing itsapplication would consdtutea m aterial

 m isrepresentadon byVIP and could giveriseto fzaud,butCS hasnotpled this.See ECF

 N o.7,5.CS hastherefore failed to plead rnisrepresentation ofam aterialfact.

        Rule9$)zequiresaplaintiffpleadafalserepresentationmadetotheUSPTO of
 m aterialfactin orderto state a claim offraud on the USPTO .M arshak v,Treadwell,58 F.

 Supp.2d 551,566 O .N.
                     J.1999).CShasfailedto do so,andthusitscllim offraudulent
 procurem entofatradem ark fails.CS'scounterclnim oftradem ark infringem entrestson this

 clnim,andthereforedoesnotmeetRule9$)'sstandardofpleacling.SeeECF No.7,5.
        CS'ssecond countetclaim (unfaircompeétion byVIP)incom oratesbyreferenceall
 allegationsm ade in itsftrstcountezcl/im and relieson V1P'suse offTa falsedesignaéon of

 ozigin and false orrnisleading representadon offactasto tlae otigin ofitsgoods,''by using

 theM ark.ECF N o.7,5.CS'sclnim offraud isno m ore successfulin the contextofunfair




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 com petition than itisin thecontextofttadem ark infringem ent.Therefore,CS'ssecond

 counterclnim also failsto meetthe9(b)standatd.l
                                                             IV .

         VIP'sm odon to disrnissisG RAN T ED .The coutt,however,grantsCS leaveto

 am end itscountetclcim s.

         An apptoptiate O RD E R willbeentezed.


                                                      snteted, yg - ggn--a
                                                                         ?..sa?v

                                                                      fl
                                                      M ichaelF.Urbanski
                                                      United StatesDisttictludge




           1VIP also azguesin itsm em orandlxm in supportofitsm odon to ctism isstlmtCS failsto plead W :IZsufscient
 pardctzlaritythefactssurrolm clingW P'szepresentadpn.ECF N o.16,5.Speco cally,W P arguesthatCSdoesnot
 ffprovidefactsshowing the tim e orplacewhere itallegesW P m ade the fraudulentrepzesentadons,''doesnotprovide
 fTany supportregarding how thealleged date offtrstuse wasfraudulent,''and doesnotffidendfy theW P representaéve
 whopum ortedlymadetheserepresentationsy''thusprevendngazeasonableinferenceofintent.LcLat6.W bilesomeof
 theseargum entsm ighthavem ezit,thecourtdeclinesto addressthem .Thc courtneed notreach adecision,given tlze
 abovedism issalofthecotm tercbim sforfat
                                        'llzretoplead am atedalrnisrepresentadon asam atleroflaw .

                                                               7
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